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                                                                       ctERrs OFFI/E U.s.DISX COURT
                                                                           ATcFM torrEsvlbE,VA
                                                                                  FILED
                         UNITED STATES DISTRICT CO URT                        JAN 2 ï 2213
                         W ESTERN D ISTR ICT O F VIRG ING
                           CH AR T,OTTESW LLE D IW SIO N                  Bt.
                                                                            U CC          .62VRK      '
                                                                                         E
NAN CA GLE,

      Plaintiff,
                                                            PLAINTIFF'S COM PLAIN T


GCSERVICES,LP,                                          5.13 -ûV-9P00 I
                                                       .-



      Defendant.



      Plaintiff,NAN CAGLE Ctplaintiff'),through herattorneys,FERRIS W INDER,PLLC,
allegesthefollowingagainstDefendant,GC SERVICES,LPCr efendanf'):
                                    IN TR O DU CTIO N

      Count l of Plaintiffs Com plaint is based on the Fair Debt Collection Practices Act

      (CTDCPA''),15U.S.C.j1692,etseq.
                              JU RISDICTIO N A ND VENU E

      Jurisdiction ofthiscourtarisespursuantto 15 U.S.C.j 1692k(d),which statesthatsuch
      actions m ay be brought and heard before ûtany appropriate United States district court

      w ithoutregard to the am ountin controversy.''

   3. DefendantconductsbusinessinthestateofVirginia,andtherefore,personaljurisdiction
      isestablished.

      Venueisproperpursuantto28U.S.C.1391(b)(2).
                                         PAR TIES

      Plaintiffisa naturalperson residing in Fork Union,Fluvanna County,V irginia.

   6. Plaintiffisaconsumerasthatterm isdefinedby 15U.S.C.j1692a(3),andaccordingto


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     Defendant, Plaintiff allegedly ow es a debt as that term is defined by 15 U.
                                                                                S.C.j
     1692a(5).
     Defendantisadebtcollectorasthatterm isdesnedby 15U.S.C.j 1692a46)andsought
     to collectaconsum erdebtfrom Plaintiff.

 8. Defendantisa collection agency w ith aplace ofbusinessin Huston,Texas.

 9. D efendant acted through its agents, em ployees, offk ers, m em bers, directors, heirs,

     successors, assigns, principals, trustees, sureties, subrogees, representatives, and

     insurers.

                              FA CTUA L AT,LEGA TIO NS

  10.D efendantis attem pting to collectadebtfrom Plaintiffon behalfofthe originalcreditor.

  11.Plaintiff'salleged debtow ed arisesfrom transactionsforpersonal,fam ily,and household

     purposes.

  12.In or around A ugust of 2012, Defendant began placing calls to Plaintiff's cellphone

     (804-314-91xx)inanattempttocollectanallegeddebt.
  13.D efendant left m essages for Plaintiff asking her to return the call to 314-851-4336,a

     num berbelonging to Defendant.

  14.D efendant left a voicem ail m essage for Plaintiff, in an attem pt to collect a debt that

     failed to state that the com munication was from a debt collector. See Defendant's

     transcribed voicem ailm essage attached asExhibitA .

  15.D efendantis ùsipg false,deceptive and m isleading m eans in connection With attem pting

     to collect a debtby not identifying the purpose of its phone calls or that they are an

     attem ptto collecta debt.
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                                CO UN T 1
   DEFEND ANT W O LA TED TH E FM R D EBT CO LLEC TIO N PR ACTICES A CT

   16.Defendantviolated theFDCPA based on the following:

         a. Defendant violated f1692e of the FDCPA by using false,deceptive, and
             m isleading represenutionsin connection w ith the collection ofany debt.

         b. Defendantviolated j1692e(l0)oftheFDCPA by using deceptivemeansin an
             attemptto collecta debt.

         c. Defendant violated f1692e(11) of the FDCPA by failing to disclose in
             subsequentcom m unicationsthatthe com m unication wasfrom a debtcollector.

      W HEREFORE,Plaintiff,NAN CAGLE, respectfully requests judgment be entered
againstD efendant,G C SERVICES,LP,forthe follow ing:

   17.Statutory damagesof$1,000.00 pursuantto the FairDebtCollection PracticesAct,15

      U.S.C.j1692k,
   18.Costs and reasonable attorneys'feespursuantto the FairD ebtCollection Practices Act,

      15U.S.C.j 1692k
   l9.Any otherreliefthatthisHonorable Courtdeem s appropriate.



Dated:3-
       -   >0     ,
                  9 IZô13                    RESPECTFULLY SUBM TTED,

                                  By:
                                         XichardW .Ferris
                                         .vSB# 31812
                                          FerrisW inder,PLLC
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                                          Richm ond V A 23219
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